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                                 UNITED STATES DISTRICT COURT
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                                      DISTRICT OF NEVADA
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11   MICHAEL RENO, et al.,
                                                          Case No.: 2:18-cv-00840-APG-NJK
12          Plaintiff(s),
                                                                        Order
13   v.
                                                                   [Docket No. 193]
14   WESTERN CAB COMPANY, et al.,
15          Defendant(s).
16         On June 23, 2020, the Court ordered Defendants to produce a declaration regarding
17 discovery. Docket No. 192. Rather than serving that declaration on opposing counsel, however,
18 Defendants filed it on the docket. Docket No. 193. Discovery-related documents must be served
19 on opposing counsel, not filed on the docket unless ordered by the Court. See Local Rule 26-8;
20 see also Fed. R. Civ. P. 5(d)(1). No such order has been entered in this case. Accordingly, the
21 Court STRIKES the above-referenced document, and instructs the parties to refrain from filing
22 discovery documents on the docket in the future absent a Court order that they do so.
23         IT IS SO ORDERED.
24         Dated: July 9, 2020
25                                                             ______________________________
                                                               Nancy J. Koppe
26                                                             United States Magistrate Judge
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